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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                    RELATED CASE ORDER


         A Notice of Related Case in a Criminal Action (Crim. L.R. 8-1) has been filed. The time
for filing an opposition or statement of support has passed. As the judge assigned to case

        24-cv-03381-JST
        Hultman v. Mattson

I find that the more recently filed cases that I have initialed below are related to the case assigned
to me, and such cases shall be reassigned to me.


  Case              Title                                       Related Not Related
  25-cr-00126-CRB-1 United States v. Mattson                     JST
  25-cv-04387-JD    Securities & Exchange Commission v. Mattson  JST

                                              ORDER

         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.


Dated: June 2, 2025                                By:
                                                   Jon S. Tigar
                                                   United States District Judge
